      Case 5:21-cr-00009-LGW-BWC Document 420 Filed 06/22/22 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                WAYCROSS DIVISION

UNITED STATES OF AMERICA,                        *

               Plaintiff,                        *

vs.                                              *               CASE NO.: 5:21CR0009

MARIA LETICIA PATRICIO,                          *

               Defendant.                        *


              DEFENDANT’S THIRD UN-OPPOSED MOTION TO TRAVEL

        NOW COMES MARIA PATRICIO, Defendant in the above-styled action, and moves

this Court for entry of an order modifying the conditions of release to allow her to travel outside

of the District on June 27, 2022 through June 30, 2022 and July 25, 2022 and July 28, 2022.

Defendant shows as follows:

                                                 1.
        Defendant was released from Custody on November 23, 2021, under the conditions

ordered in Doc 124.

                                                 2.
        Pursuant to the Order, Defendant’s travel is restricted to the Southern District of Georgia.

                                                 3.
        Defendant requests to travel to Houston, Texas to attend a showcase and musical expo.

The Defendant anticipates departing on June 27, 2022 and returning June 30, 2022.

                                                 4.
        Defendant also requests to travel to Las Vegas, Nevada to attend another showcase and

musical expo. The Defendant anticipates departing on July 25, 2022 and returning on July 28,

2022.
     Case 5:21-cr-00009-LGW-BWC Document 420 Filed 06/22/22 Page 2 of 3




                                                 5.

       Counsel has communicated with Counsel for the Government and United States

Probation, neither has an objection to travel outside of the District for the defendant on the dates

listed above for the reasons outlined.



       Respectfully submitted this 22nd day of June, 2022.



                                                 s/ Juanita M. Holsey
                                                 Juanita M. Holsey
                                                 Attorney Bar Number: 172161
                                                 Attorney for Defendant
                                                 The Holsey Law Firm, LLC
                                                 P.O. Box 132
                                                 Jesup, GA 31598
                                                 Telephone:    (912) 208-2353
                                                 Facsimile:    (877) 349-4076
                                                 E-mail: jholsey13@gmail.com
      Case 5:21-cr-00009-LGW-BWC Document 420 Filed 06/22/22 Page 3 of 3




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF GEORGIA
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UNITED STATES OF AMERICA,                          *

                Plaintiff,                         *

vs.                                                *               CASE NO.: 5:21CR0009

MARIA LETICIA PATRICIO,                            *

                Defendant.                         *


                                  CERTIFICATE OF SERVICE

        This is to certify that I have on this day served all the parties in this case in accordance with

the directives from the Court Notice of Electronic Filing (“NEF”) which was generated as a result

of electronic filing.

        Respectfully submitted this 22nd day of June, 2022.



                                                   s/ Juanita M. Holsey
                                                   Juanita M. Holsey
                                                   Attorney Bar Number: 172161
                                                   Attorney for Defendant
                                                   The Holsey Law Firm, LLC
                                                   P.O. Box 132
                                                   Jesup, GA 31598
                                                   Telephone:    (912) 208-2353
                                                   Facsimile:    (877) 349-4076
                                                   E-mail: jholsey13@gmail.com
